Case 6:25-cv-00098-PGB-LHP      Document 45   Filed 04/15/25   Page 1 of 2 PageID 280




                         UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


     JEAN LOUIS BARRETO-BAERGA,

                        Plaintiff,

     v.                                                 Case No: 6:25-cv-98-PGB-LHP

     OSCEOLA COUNTY, MARCOS
     LOPEZ, DAVID CRAWFORD,
     CHRISTOPHER KOFFINAS, JOSEPH
     DE JESUS, ARTURO DOMINGUEZ
     and BENJAMIN MACLEAN,

                        Defendants




                                           ORDER
           Before the Court is Plaintiff’s Unopposed Motion to Withdraw Bhavani

     Raveendran as Counsel of Record. Doc. No. 44. On review, the motion (Doc. No.

     44) is DENIED without prejudice for failure to comply with the Local Rules. First,

     the motion fails to comply with the typography requirements of Local Rule 1.08.

     Second, the motion fails to include a memorandum of legal authority as required

     by Local Rule 3.01(a). Third, the motion fails to comply with Local Rule 2.02(c)(2),

     in that the motion was filed and signed by Stephen H. Weil, Esq. but seeks the

     withdrawal of Bhavani K. Raveendran, Esq. Finally, the motion fails to include a
Case 6:25-cv-00098-PGB-LHP    Document 45    Filed 04/15/25   Page 2 of 2 PageID 281




     separate certification as required by Local Rule 3.01(g)(2). A renewed motion must

     fully comply with the Local Rules.

           DONE and ORDERED in Orlando, Florida on April 15, 2025.




     Copies furnished to:

     Counsel of Record
     Unrepresented Parties




                                            -2-
